UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
CAND 435
(CAND Rev, 08/2018)

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Los Angeles, California 90067

5, CASE NAME

ELON MUSK, et al. v. SAMUEL ALTMAN, et al.

6, CASE NUMBER

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